               Case 2:22-cr-00482-GW Document 6 Filed 10/24/22 Page 1 of 2 Page ID #:12
 BRIAN FAERSTEIN (Cal. Bar No. 274850)
 Assistant United States Attorney
 1500 United States Courthouse
 312 N. Spring St.
 Los Angeles, CA 90012
 Telephone: (213) 894-3819
 E-mail: Brian.Faerstein@usdoj.gov
                                   6/*5&%45"5&4%*453*$5$0635
                                  $&/53"-%*453*$50'$"-*'03/*"
UNITED STATES OF AMERICA,                                              CASE NUMBER:

                                                                                           No. 2:22-cr-00482-GW
                                                       PLAINTIFF(S)
                                 v.

+ERRY NEHL BOYLAN
                                                                                     /05*$&0'"11&"3"/$&03
                                                                                     8*5)%3"8"-0'$06/4&-
                                                     DEFENDANT(S)

                                                          */4536$5*0/4
"QQFBSBODFPG$PVOTFM:
Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)
8JUIESBXBMPG$PVOTFM:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.
Note:  *O TJUVBUJPOT OPU DPWFSFE BCPWF  BUUPSOFZT TFFLJOH UP XJUIESBX GSPN B DBTF NVTU GJSTU PCUBJO QFSNJTTJPO GSPN UIF
$PVSU*OTVDIDJSDVNTUBODFT BUUPSOFZTTIPVMEDPNQMFUFBOEGJMFB3FRVFTUGPS"QQSPWBMPG4VCTUJUVUJPOPS8JUIESBXBMPG
$PVOTFM 'PSN( SBUIFSUIBOUIJT/PUJDFPG"QQFBSBODFPS8JUIESBXBMPG$PVOTFM 'PSN( 4FF'PSN(GPS
GVSUIFSJOGPSNBUJPO
4&$5*0/**%&/5*':*/(*/'03."5*0/
1MFBTFDPNQMFUFUIFGPMMPXJOHJOGPSNBUJPOGPSUIFBUUPSOFZZPVXJTIUPBEEPSSFNPWF JGSFNPWJOHBOBUUPSOFZ QSPWJEFUIF
JOGPSNBUJPOBTJUDVSSFOUMZBQQFBSTPOUIFEPDLFUJGBQQFBSJOHQSPIBDWJDF FOUFS1)7JOUIFGJFMEGPS$"#BS/VNCFS 

Name: Brian Faerstein                                                                     CA Bar Number: 274850
Firm or agency: United States Attorney's Office
Address: 312 N. Spring Street, Los Angeles CA, 90012

Telephone Number: (213)894-3819                                          Fax Number:         (213)894-0141
Email: Brian.Faerstein@usdoj.gov
Counsel of record for the following party or parties: United States of America




G-123 (1/16)                             /05*$&0'"11&"3"/$&038*5)%3"8"-0'$06/4&-                                           Page 1 of 2
              Case 2:22-cr-00482-GW Document 6 Filed 10/24/22 Page 2 of 2 Page ID #:13

4&$5*0/**50"%%"/"5503/&:505)&%0$,&5
1MFBTFTFMFDUPOFPGUIFGPMMPXJOHPQUJPOT
        5IFBUUPSOFZMJTUFEBCPWFIBTBMSFBEZBQQFBSFEBTDPVOTFMPGSFDPSEJOUIJTDBTFBOETIPVMEIBWFCFFOBEEFEUPUIF
        EPDLFU5IFEBUFPGUIFBUUPSOFZhTGJSTUBQQFBSBODFJOUIJTDBTF                       
 X      5IFGJMJOHPGUIJTGPSNDPOTUJUVUFTUIFGJSTUBQQFBSBODFJOUIJTDBTFPGUIFBUUPSOFZMJTUFEBCPWF0UIFSNFNCFSTPG
        UIJTBUUPSOFZhTGJSNPSBHFODZIBWFQSFWJPVTMZBQQFBSFEJOUIFDBTF
        5IFGJMJOHPGUIJTGPSNDPOTUJUVUFTUIFGJSTUBQQFBSBODFJOUIJTDBTFPGUIFBUUPSOFZMJTUFEBCPWF/PPUIFSNFNCFST
        PGUIJTBUUPSOFZhTGJSNPSBHFODZIBWFQSFWJPVTMZBQQFBSFEJOUIFDBTF
        #ZPSEFSPGUIFDPVSUEBUFE@@@@@@@@@@@@@@@@@@@@@JODBTFOVNCFS@@@@@@@@@@@@@@@@@@@@@@@@ TFFBUUBDIFE
        DPQZ UIFBUUPSOFZMJTUFEBCPWFNBZBQQFBSJOUIJTDBTFXJUIPVUBQQMZJOHGPSBENJTTJPOUPQSBDUJDFQSPIBDWJDF
        5IJTDBTFXBTUSBOTGFSSFEUPUIJTEJTUSJDUCZUIF+VEJDJBM1BOFMPO.VMUJEJTUSJDU-JUJHBUJPO +1.- QVSTVBOUUP
        64$fGSPNUIF@@@@@@@@@@@@@@@%JTUSJDUPG@@@@@@@@@@@@@@@@@@@@ XIFSFJUXBTBTTJHOFEDBTFOVNCFS
        @@@@@@@@@@@@@@@@@@@@5IFBUUPSOFZMJTUFEBCPWFJTDPVOTFMPGSFDPSEJOUIJTDBTFJOUIFUSBOTGFSFFEJTUSJDU BOEJT
        QFSNJUUFECZUIFSVMFTPGUIF+1.-UPDPOUJOVFUPSFQSFTFOUIJTPSIFSDMJFOUJOUIJTEJTUSJDUXJUIPVUBQQMZJOHGPS
        BENJTTJPOUPQSBDUJDFQSPIBDWJDFBOEXJUIPVUUIFBQQPJOUNFOUPGMPDBMDPVOTFM
        0O@@@@@@@@@@@@@@@@@@@@@@ UIFBUUPSOFZMJTUFEBCPWFXBTHSBOUFEQFSNJTTJPOUPBQQFBSJOUIJTDBTFQSPIBDWJDF
        CFGPSFUIF#BOLSVQUDZ$PVSU BOE-#BOLS3BVUIPSJ[FTUIFDPOUJOVBUJPOPGUIBUSFQSFTFOUBUJPOJOUIJTDBTFCFGPSF
        UIF%JTUSJDU$PVSU
*OBEEJUJPO JGUIJTJTBDSJNJOBMDBTF QMFBTFDIFDLUIFBQQMJDBCMFCPYCFMPX5IFBUUPSOFZMJTUFEBCPWFJT
              64"0      '1%0         $+""QQPJOUNFOU         1SP#POP           3FUBJOFE


4&$5*0/***503&.07&"/"5503/&:'30.5)&%0$,&5
1MFBTFTFMFDUPOFPGUIFGPMMPXJOHPQUJPOT

        5IFBUUPSOFZOBNFEBCPWFIBTBMSFBEZCFFOSFMJFWFECZUIF$PVSUBTDPVOTFMPGSFDPSEJOUIJTDBTFBOETIPVME
        IBWFCFFOSFNPWFEGSPNUIFEPDLFU%BUFPGUIFPSEFSSFMJFWJOHUIJTBUUPSOFZ                         

        1MFBTFSFNPWFUIFBUUPSOFZOBNFEBCPWFGSPNUIFEPDLFUPGUIJTDBTFBUMFBTUPOFNFNCFSPGUIFGJSNPSBHFODZ
        OBNFEBCPWF BOEBUMFBTUPOFNFNCFSPGUIF#BSPGUIJT$PVSU XJMMDPOUJOVFUPTFSWFBTDPVOTFMPGSFDPSEGPSUIF
        QBSUZPSQBSUJFTJOEJDBUFE
         /PUFJGZPVBSFSFNPWJOHZPVSTFMGGSPNUIFEPDLFUPGUIJTDBTFBTBSFTVMUPGTFQBSBUJOHGSPNBGJSNPSBHFODZ ZPV
        TIPVMEDPOTVMU-PDBM3VMFTBOEBOE'PSN( i/PUJDFPG$IBOHFPG"UUPSOFZ#VTJOFTTPS$POUBDU
        *OGPSNBUJPOw DPODFSOJOHZPVSPCMJHBUJPOTUPOPUJGZUIF$MFSLBOEQBSUJFTPGDIBOHFTJOZPVSCVTJOFTTPSDPOUBDU
        JOGPSNBUJPO
        5IFSFQSFTFOUFEQBSUZIBTCFFOEJTNJTTFEGSPNUIFDBTF CVUUIFBUUPSOFZTBSFTUJMMSFDFJWJOHOPUJDFTPGFMFDUSPOJD
        GJMJOH%BUFQBSUZXBTEJTNJTTFE

        5IFBUUPSOFZOBNFEBCPWFXBTBQQPJOUFEPOBQQFBMBOEUIFBQQFBMIBTCFFOBEKVEJDBUFE%BUFUIFNBOEBUFXBT
        GJMFE

4&$5*0/*74*(/"563&

*SFRVFTUUIBUUIF$MFSLVQEBUFUIFEPDLFUBTJOEJDBUFEBCPWF


      %BUF October 24, 2022                           4JHOBUVSF T

                                                       /BNF        Brian Faerstein

(                             /05*$&0'"11&"3"/$&038*5)%3"8"-0'$06/4&-                                     1BHFPG
